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DEFENDANT:              Michael Destry Williams

YOB:                    1964
ADDRESS:                Unknown

COMPLAINT FILED?                  YES    X       NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:
        IF NO, PROCEED TO “OFFENSE” SECTION

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                              YES   X          NO

        IF NO, A NEW WARRANT IS REQUIRED

OFFENSE:        Counts 1-3
                Tax Evasion
                26 U.S.C. §7201

                Count 4
                Structuring Transactions to Evade Reporting Requirements
                31 U.S.C. 5324(a)(3)

                Counts 5-6
                Bank Fraud
                18 U.S.C. §1344

                Counts 7-9
                Fictitious Obligations
                18 U.S.C. §514

                Count 10
                Interference with administration of internal revenue laws
                26 U.S.C. §7212(a)

LOCATION OF OFFENSE (COUNTY/STATE): Pueblo County, Colorado and elsewhere

PENALTY:        Counts 1-3
                Per Count, NMT 5 years imprisonment; $250,000 fine, or both; together with costs of
                prosecution; $100 Special Assessment.

                Count 4
                NMT 5 years imprisonment; $250,000 fine, or both; $100 Special Assessment

                Counts 5-6
                Per Count, NMT 30 years imprisonment; $1,000,000 fine, or both;
                $100 Special Assessment. Restitution.

                Counts 7-9
                Per Count, NMT 25 years imprisonment; $1,000,000 fine, or both;
                NMT 5 years supervised release; $100 Special Assessment. Restitution.

                Count 10
                NMT 3 years imprisonment; $250,000 fine, or both; $100 Special Assessment

AGENTS:

David Topolewski, Special Agent
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Internal Revenue Service, Criminal Investigation Division
Colorado Springs, CO

Klaton Knabb, Special Agent
Treasury Inspector General for Tax Administration

AUTHORIZED BY:

Kenneth M. Harmon
Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

       five days or less            over five days           other

THE GOVERNMENT

   X     will seek detention in this case            will not seek detention in this case

The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

OCDETF CASE:                        Yes         X              No
